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                            SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                                                                                                              EXHIBIT A
               FOR THE PERIOD BEGINNING:                      February 1, 2013                         AND ENDING:            February 28, 2013

   Name of Debtor: TRILLION PARTNERS, INC.                                                              Case Number:          11-cv-01787-MSK-MJW

                                                                                                            CURRENT
                                                                                                             MONTH

   1. FUNDS AT BEGINNING OF PERIOD                                                                           1 ,972,559.72    (a)
   1. RECEIPTS:
    A. Customer Collections at Trillion
     B. Customer Collections in Lockbox                                                                        336,204.04
    C. Received from Secured Lenders                                                                           390,114.31
    D. Other Receipts                                                                                          154,734.33

   2. TOTAL RECEIPTS                                                                                           881,052.68

   TOTAL FUNDS AVAILABLE FOR
      OPERATIONS                                                                                             2,853,612.40

   3. DISBURSEMENTS
    A    Advertising
     B   Bank /Credit Card Charges                                                                                 420.00
    C    Contract Labor                                                                                        143,190.32
    D    Fixed Asset Payments
     E   Insurance
     F   Inventory Payments                                                                                    142,251.72
    G    Leases                                                                                                 32,542.97
    H    Circuits                                                                                               13,284.42
         Office Supplies                                                                                         1,195.34
         Payroll- Net                                                                                          175,848.85
     K   Professional Fees
    K1          Alvarez & Marsal                                                                                43,329.27
    K2          McElroy, Deutsch, Mulvaney & Carpenter
    K3          HoroiJIIVI.<itz & Burnett, P.C.
    K4          Wiley Rein                                                                                       28,063.72
    K5          Greg Vogt                                                                                         2,175.00
    K6           Ford & Harrison
    K7           Real Estate Tax Consultants
    K8          Winstead P.C.
    K9          Grimshaw & Haring
   K10           Ewell, Bickham , Brown & Rabb L
   K11          Smith ,Angderson ,Biount ,Dorsett
   K12          Carianne Weston
   K13           Madison Sproul Partners                                                                         29,950.55
     L   Rent                                                                                                    20,005.88
    M    Repairs & Maintenance                                                                                   23,715.72
    N    Secured Creditor Payments
    0    Taxes Paid- Payroll                                                                                    60,558.44
     P   Taxes Paid- Sales & Use                                                                                 1,938.69
    Q    Taxes Paid- Other                                                                                      37,851.34
    R    Telephone                                                                                               2,302.78
    S    Travel & Entertainment                                                                                 10,488.00
    T    Utilities                                                                                               5,852.06
    U    Vehicle Expenses                                                                                       13,068.11
   U1    Bear Reimbursements                                                                                   147,661.92
   U2    Payroll Contributions                                                                                  41,601.25
   U3    Transfer to Escrow Account on behalf of Secured Creditors
   U4    Disbursement from Vectra Bank to Trillion
   U5    Disbursement from US Bank to Vectra                                                                    77,967.76
    V    Other Operating Expenses                                                                               22,260.00
   Excess prior months checks cleared over current month checks uncleared                                       (1 ,513.10)
   4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                                 1,076,011.01
   5. NET CASH FLOW FOR PERIOD                                                                                (194,958.33)
   7. ENDING BALANCE (Line 4 Minus Line 6)                                                                   1,777,601.39 (c)
                                                                         Check
                                                                                                                       0 00
   I declare under penalty or perjury that this statement and the accompanying documents and reports are true
   and correct to the best of my knowledge and belief.

   This _ _....:.14,;,:t:.;,h day of_ _ _ _ _ _ _...;Mc:.;;a:::r..:;ch"--------- ,2013.                 s/ Byron P. Smyl
                                                                                                                              (Signature)

   ( a) This number is carried forward from last month's report. For the first report only, this number will be the
        balance as of the receivership date.
   (b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
        the receivership
   (c) These two amounts will always be the same if form is completed correctly.




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